8:12-cr-00418-JMG-SMB             Doc # 87    Filed: 01/14/14     Page 1 of 1 - Page ID # 145



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                       8:12CR418

       vs.
                                                                        ORDER
CHRISTOPHER BATES,
TYRONE FLOWERS,
QUINCY HUGHES,

                     Defendants.


       The defendant, Christopher Bates, has moved to continue the trial currently set for
January 27, 2014 (Filing No. 86).      The motion to continue is unopposed by counsel for the
Government and counsel for defendant Tyrone Flowers. Based on the showing set forth in the
motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant’s motion to continue, (filing no. 86), is granted.

       2)     The trial of this case is set to commence before the Honorable John M. Gerrard,
              United States District Judge, in Courtroom #1 of the United States Courthouse,
              Omaha, Nebraska, at 9:00 a.m. on March 31, 2014, for five trial days, or as soon
              thereafter as the case may be called.          Jury selection will be held at
              commencement of trial.

       3)     Based upon the showing set forth in the defendant’s motion and the
              representation of counsel, the Court further finds that the ends of justice will be
              served by continuing the trial; and that the purposes served by continuing the trial
              date in this case outweigh the interest of the defendant and the public in a
              speedy trial. Accordingly, the additional time arising as a result of the granting of
              the motion, the time between January 27, 2014, and March 31, 2014, shall be
              deemed excludable time in any computation of time under the requirements of
              the Speedy Trial Act, because despite counsel’s due diligence, additional time is
              needed to adequately prepare this case for trial and failing to grant additional
              time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) &
              (h)(7).

       January 14, 2014.

                                                     BY THE COURT:

                                                     s/ F. A. Gossett, III
                                                     United States Magistrate Judge
